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                              UNITED STATES DISTRICT
                             COURT FOR THE DISTRICT OF
                                    COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :              Criminal No. 21-cr-116
                                             :
MICHAEL CALHOUN AND                          :
VERDEN NALLEY                                :

                                             :
               Defendants.                   :


                                         NOTICE OF
                                        WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney

for the District of Columbia, informs the Court that Assistant United States Attorney Ahmed

Baset, as counsel for the United States, is terminating their appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will

remain counsel for the United States.

                                             Respectfully submitted,


                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                 By: /s/ Ahmed Baset___________
                                                     Ahmed M. Baset
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